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                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
      Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                      Filed: November 19, 2015




Heidi K. Erickson
P.O. Box 2
Bighill, KY 40403

Mr. David Brent Irvin
Kentucky Cabinet for Health & Family Services
Office of Legal Services
275 E. Main Street
Room 5W-B
Frankfort, KY 40621

                    Case No. 15-6193, Heidi Erickson v. Commonwealth of KY, Cabinet f,
              Re:
                    et al
                    Originating Case No. : 5:14-cv-00375

Dear Ms. Erickson and Counsel,

  The Court issued the enclosed Order today in this case.

                                      Sincerely yours,

                                      s/Michelle M. Davis
                                      Case Manager
                                      Direct Dial No. 513-564-7025

cc: Mr. Robert R. Carr

Enclosure
